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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA, et al.,

                                Plaintiffs,            Case No. 1:20-cv-03010-APM

 v.                                                    HON. AMIT P. MEHTA
 GOOGLE LLC,

                                Defendant.


 STATE OF COLORADO, et al.,

                                Plaintiffs,            Case No. 1:20-cv-03715-APM

 v.                                                    HON. AMIT P. MEHTA
 GOOGLE LLC,

                                Defendant.



   PLAINTIFFS’ MOTION IN LIMINE TO LIMIT GOOGLE’S ABILITY TO USE
 EVIDENCE OF PRODUCT QUALITY AS A COMPLETE DEFENSE TO LIABILITY

       Plaintiffs in the above-captioned cases (“Plaintiffs”) respectfully move to preclude

Google LLC (“Google”) from introducing evidence at trial for the purpose of arguing that the

quality of its products insulate Google from a finding of liability, or actions taken to improve its

products cannot support a monopoly maintenance claim under Section 2 of the Sherman Act.

This argument is foreclosed by United States v. Microsoft Corp., 253 F.3d 34 (D.C. Cir. 2001)

(en banc), and contrary to well-established antitrust principles that monopolists cannot substitute

their assurances of beneficial behavior for the discipline provided by competitive markets.

Accordingly, the Plaintiffs respectfully request that Google’s introduction of evidence related to
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its product quality be limited to its alleged procompetitive justifications for its anticompetitive

conduct.

                                        INTRODUCTION

        At trial, Plaintiffs will demonstrate that Google’s anticompetitive conduct—including

securing default status on Apple devices, Android devices, and third-party browsers—allows

Google to illegally maintain its durable monopolies in general search and related advertising

markets. In particular, Google’s anticompetitive conduct allows it to lock up critical distribution

channels (search defaults) and deny rivals access to the scale (user-side data) necessary to

compete meaningfully. The State Plaintiffs will additionally demonstrate that Google’s

discriminatory exclusion of Specialized Vertical Providers (“SVPs”) from certain of its vertical

features on its search engine results page further allows Google to maintain its durable search-

related monopolies.1

        Google has argued that its conduct cannot support a monopoly maintenance claim under

Section 2 so long as it makes Google’s products more attractive to consumers. As explained

below, while Google may argue that consumers prefer its general search engine, under the law

Google cannot argue that any such preferences shield its conduct from antitrust liability.

                                           ARGUMENT

        Under Rule 402 of the Federal Rules of Evidence, only relevant evidence is admissible,

and relevancy requires that the evidence proffered tends to make a fact more or less probable.

See Fed. R. Evid. 401, 402. Evidence can be proffered for a variety of purposes, but the Court’s

gatekeeping role requires it to consider evidence only for proper purposes. See United States ex


1
    For example, the State Plaintiffs will show that Google’s conduct limits the ability of SVPs to
    gain traffic and raises their customer acquisition costs, while increasing the revenues and
    profits of Google’s monopoly advertising and protecting its monopoly power from erosion by,
    for example, providing content to Google’s rivals.

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rel. Landis v. Tailwind Sports Corp., 292 F. Supp. 3d 211, 216 (D.D.C. 2017) (“Because this

evidence is admissible for one purpose but not another, the Government will be entitled to a

limiting instruction if it so desires.”); see also Fed. R. Evid. 105 (“Limiting Evidence That Is Not

Admissible Against Other Parties or for Other Purposes.”).

        Google’s prior arguments suggest it may seek to introduce evidence related to the quality

of its general search services, such as a claimed product design or improvement, for an improper

purpose—a complete immunity to antitrust liability.2 To the extent Google seeks to use evidence

related to its product quality for an improper purpose, this Motion seeks to exclude the

introduction of such evidence.

        Under Microsoft, Plaintiffs must establish that Google (i) possesses “monopoly power”

and (ii) maintained that power through “exclusionary conduct.” See Microsoft, 253 F.3d at 50,

58. To determine whether Google engaged in exclusionary conduct, the Court applies a multi-

step burden-shifting framework. See id. at 58–59. Plaintiffs first must show that Google’s

conduct has an “anticompetitive effect” in at least one of the three relevant markets. See id. at 58.

Once Plaintiffs have done so, the burden shifts to Google to show a sufficient “procompetitive

justification” for its conduct. Id. at 59. If Google makes that showing, the burden shifts back to

Plaintiffs to “rebut that claim” or “demonstrate that the anticompetitive harm of the conduct

outweighs the procompetitive benefit.” Id.

        The possibility that a monopolist’s conduct makes a product more attractive to some

consumers is not an absolute or complete defense to liability under Section 2. Cf. NCAA v.




2
    See, e.g., Apr. 13, 2023 Hrg Tr. 7:3–8 (Google counsel John Schmidtlein: “[A]s the Court also
    teaches in various places, conduct that is pro-competitive or conduct that is a superior product
    or competition on the merits cannot, as a matter of law, violate the antitrust laws, regardless
    of its effect” (emphasis added)).

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Alston, 141 S. Ct. 2141, 2163 (2021) (while firms can seek to “introduc[e] a new product into the

marketplace,” that does not “mean[] a party can relabel a restraint as a product feature and

declare it ‘immune from § 1 scrutiny’” (quoting Am. Needle, Inc. v. Nat’l Football League, 560

U.S. 183, 199 n.7 (2010))). This is especially true when, as here, Google’s conduct allows it to

deny rivals the scale needed to compete effectively. If conduct has anticompetitive potential, a

defendant must always provide a competitive justification for that conduct, i.e., “a nonpretextual

claim that its conduct is indeed a form of competition on the merits because it involves, for

example, greater efficiency or enhanced consumer appeal.” Microsoft, 253 F.3d at 58–59; see

also NCAA v. Bd. of Regents of Univ. of Okla., 468 U.S. 85, 113 (1984) (defendant bears “heavy

burden” to justify “[an] apparent deviation from the operations of a free market”).3 Even if the

defendant carries this burden, its justification must still be balanced against the anticompetitive

effects, which reflects the significance of the anticompetitive harm even in the face of provable

procompetitive benefits. Microsoft, 253 F.3d at 58–59, at 65 (“Judicial deference to product

innovation, however, does not mean that a monopolist’s product design decisions are per se

lawful”). Only if the procompetitive benefits outweigh the anticompetitive effects could the

defense succeed. As the evidence will show, Google will not be able to meet that heavy burden

here.

        Google’s promise that its anticompetitive conduct offers consumers better quality

products than under a competitive process “is nothing less than a frontal assault on the basic

policy of the Sherman Act.” PLS.Com, LLC v. Nat’l Ass’n of Realtors, 32 F.4th 824, 836–37




3
    To establish that a product improvement qualifies as a procompetitive benefit at step two, a
    defendant must show that improvement “foster[s] consumer demand.” In re Nat’l Collegiate
    Athletic Ass’n Athletic Grant-in-Aid Cap Antitrust Litig., 958 F.3d 1239, 1249 (9th Cir. 2020),
    aff’d sub nom. Nat’l Collegiate Athletic Ass’n v. Alston, 141 S. Ct. 2141 (2021).

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(9th Cir. 2022) (quoting Nat’l Soc’y of Pro. Eng’rs v. United States, 435 U.S. 679, 695 (1978)).

And it should be rejected for the same reasons courts reject the argument that prices can be fixed

so long as the agreed upon price is reasonable, see, e.g., Arizona v. Maricopa Cnty. Med. Soc.,

457 U.S. 332, 345 (1982), or that “monopolistic arrangements will better promote trade and

commerce than competition” in certain industries, Nat’l Soc. of Pro. Engineers, 435 U.S. at 689.

The core principle of the Sherman Act is that competition is a public good because it serves

larger societal interests and the competitive process, not the assurances of a monopolist, and is

the best way to protect consumers and spur innovation. See id. at 695 (“The assumption that

competition is the best method of allocating resources in a free market recognizes that all

elements of a bargain—quality, service, safety, and durability—and not just the immediate cost,

are favorably affected by the free opportunity to select among alternative offers.”).

       Evidence that is elicited for an improper purpose is routinely limited, and subject to

exclusion, in the exercise of the Court’s gate-keeping function. Accordingly, the Plaintiffs

respectfully request that Google’s introduction of evidence related to its product quality be

limited to its alleged procompetitive justifications for its anticompetitive conduct, where the

Court can then weigh such evidence against Plaintiffs’ proof of anticompetitive effects.

                                         CONCLUSION
       Plaintiffs’ motion does not seek to exclude all evidence of Google’s purported product

superiority at trial. This Motion instead seeks to exclude evidence that is introduced by Google

for the improper and legally incorrect purpose of proving that any action that makes its product

more attractive to customers cannot be anticompetitive.




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